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11                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
12

13
      HAL J. DAVENPORT,                            Case No. 5:19-cv-00971-PA-GJS
14
                        Plaintiff,                 ORDER
15
             v.
16

17    THE MOORE LAW GROUP, A
      PROFESSIONAL CORPORATION,
18
                        Defendant.
19

20            PROPOSED ORDER ON MOTION TO APPEAR BY TELEPHONE AT
                         THE SCHEDULING CONFERENCE
21

22          Plaintiff, HAL J. DAVENPORT (“Plaintiff”), by and through his attorneys, Sulaiman Law
23   Group, Ltd. and Wajda Law Group, APC, having filed with this Court his Motion to Appear by
24
     Telephone at the Scheduling Conference and the Court having reviewed same, now finds:
25
                                                                  DENI
                                                                     ED
         1. Plaintiff’s counsel is allowed to appear by telephone at the Scheduling Conference
                                                                      BYORDEROF
26
                                                                                                   ***
             scheduled for August 5, 2019.
27
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                                                               TEDSTATESDI
                                                                         STRI
                                                                            CTJ
                                                                              UDGE
28                                                                      07/24/19
                                                     1
      ***This motion fails to comply with the Local Rules of the Central District of California.
